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        Development and Pre-Opening Fees: (a) one invoice constituting 15% of
        GGAM's total monthly fixed Fees of US$175,000 for the services GGAM
        performed inside the Philippines (which would be subject to Philippines
        withholding tax), and (b) one invoice constituting 85% of GGAM's total monthly
        fixed Fees of US$175,000 for the services GGAM performed outside the
        Philippines. 256

132.    As of Solaire' s opening in March 2013, GGAM had received payment for all of its
        Pre-Opening and Development Fees, with the exception of the invoice for
        services performed outside the Philippines for the month of February 2013,
        totaling US$148,750.257 GGAM inadvertently failed to include this invoice in its
        earlier submission of invoices to Respondents.258 After realizing the omission, on
        June 5, 2013, GGAM submitted the outstanding February 2013 invoice to
        Respondents with a note explaining the oversight.259 Respondents never paid
        this outstanding invoice.260

                 3.      GGAM Is Entitled to Its Outstanding Reimbursable Expenses

133.    Respondents have not paid GGAM US$288,031 in reimbursable travel expenses,
        for Mr. Stone's and Mr. Saunders' travel on behalf of Solaire and Bloomberry.
        With interest owed, the amount owed totals US$373,360.261

134.    The MSA required Respondents to reimburse GGAM for its out-of-pocket
        expenses, including travel expenses.262 Most of the expenses incurred related to




256 Saunders Deel. ,i ,i 98, 99; see also Claimants' Ex. 1, MSA Clause 4.6.

257 See Saunders Deel. ,i 101.

258 See id.

259 See id.

260 See id.

261 Second Kalt Report, fig. 5; Claimants' Ex. 1, MSA Clause 4.8; see also Saunders Deel. ,i 105.




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        travel to and from Solaire, but some of the travel related to the GGAM principals'
        efforts with respect to the BRC roadshow, representing BRC at investor
        conferences, and investigating and evaluating a potential business opportunity
        for BRC in Argentina.263

135.    Despite receiving all of GGAM' s invoices, expense reports and backup
        documentation, Respondents have not reimbursed GGAM for any submitted
        expenses incurred after June 2012. 264

136.    After June 2012, GGAM incurred US$ 242,474 in travel expenses to and from the
        Solaire. 265

137.    Additionally, GGAM incurred US$ 45,557 in expenses related to work on behalf
        of Respondents and BRC, including the roadshow, investor conferences, and the
        Argentine investment opportunity. 266 While GGAM incurred these expenses
        outside the scope of the MSA, GGAM is entitled to reimbursement of these
        expenses as well. 267 Even before July 2012, Respondents established a practice of
        reimbursing GGAM for expenses related to GGAM's efforts on behalf of them
        and BRC that were not directly related to Solaire, which GGAM relied on in
        incurring these expenses. 268 Even if there were no oral contract, it would




262 Claimants' Ex. 1, MSA Clause 4.7.

263 Third Stone Deel. ,r,r 39, 42; Saunders Deel. ,r 106; see also Statement of Defense at 41! 43 (Respondents
    noting that CCAM's participation in the roadshow as "fundamental, active participants" was
    "axiomatic").

264 See Saunders Deel. 41! 104.

265 See id. 41! 106; Second Kalt Report, fig. 5; Claimants' Ex. l, MSA Clause 4.7.

266 See Saunders Deel. 41! 106; Second Kalt Report, fig. 5.

267 Dauden-Hernaez v. Delos Angeles, C.R. No. L-27010(S.C., Apr. 30, 1969) (Phil.) (oral contracts are
    enforceable, including oral contracts where the amount involved exceeds five hundred pesos).

268 Saunders Deel. 41! 103; Ainza v. Padua, C.R. No. 165420 (June 30, 2005) (Phil.) (relying on evidence of
    partial performance to enforce an obligation).




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        unjustly enrich Respondents to allow them to avoid compensating GGAM for its
        travel expenses. 269 Accordingly, the Tribunal should order Respondents to
        reimburse GGAM for these expenses.

        H.      The Management Fee Damages Amount Must be Adjusted to Account
                for Withholding Tax Under Philippine Law from Which GGAM Should
                Be Exempt

138.    In addition to awarding to GGAM the present value of the Management Fee, the
        Tribunal must also accord GGAM the tax treatment the parties contemplated in
        the MSA, and require that Respondents gross up the Management Fee payment
        to include withholding tax under Philippine law, 270 unless Respondents also
        timely provide the certifications required by law to support GGAM' s exemption
        from the withholding tax under the Philippines-Netherlands Tax Treaty. 271
        Respondents should pay GGAM an additional amount so that, when GGAM is
        required to pay Philippine taxes, GGAM is left with the same amount as it would
        have if no taxes had been applied. 272



269 CIVIL CODE, Rep. Act. 386, as amended (Phil.), Art. 22, ("Every person who through an act of
    performance by another, or any other means, acquires or comes into possession of something at the
    expense of the latter without just or legal ground, shall return the same to him."); see also Advanced
    Found. Constr. Sys. Corp. v. New World Prop. and Ventures, Inc., C.R. No. 143154 (June 21, 2006) (Phil.)
    ("[T]o deny [claimant] relief for the expenses it incurred in [performing work] would result in
    allowing [respondent] to unjustly enrich itself at the expense of [claimant]. Equity necessarily
    dictates that [respondent] be held liable for the expenses incurred for the extra work conducted for its
    sole benefit.").

270 See TAX CODE, Rep. Act. 9337, as amended (Phil.)§ 28(B)(1).

271 See Philippines, Bureau of Internal Revenue, Revenue Memorandum Order No. 72-2010 (Aug. 25,
    2010) ("RMO 72-2010") (requiring Certificate of No Pending Case and notarized certification by the
    Respondents as to the duration of the service performed in the Philippines by the concerned
    employee(s) of Claimants' for the entire duration of the subject contract); see also Convention for the
    Avoidance of Double Taxation, Neth.-Philippines, Art. 5(2)(h), March 9, 1989 ("Netherlands-
    Philippines Tax Treaty").

272 Under the MSA, GGAM would have been paid the entire Management Fee amount, with no
   withholding. To keep GGAM whole, Respondents must provide the certifications to ensure GGAM
   is free of withholding, or the amount Respondents will pay in damages must be increased by the
   amount of the withholding tax (which under Philippine law is 30% of the amount paid). The total
    payment must therefore be equal to the fees due divided by .70 (i.e., Management Fee+ gross up=




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